






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00814-CV






In re Reginald A. Noble






ORIGINAL PROCEEDING FROM TRAVIS COUNTY





M E M O R A N D U M   O P I N I O N


		Reginald A. Noble, an inmate in the Texas Department of Criminal Justice, (1) has filed
a document entitled Motion for Leave to File Writ of Mandamus and Prohibition.  A motion for
leave to file a petition for writ of mandamus is required when relief is sought from the court of
criminal appeals.  See Tex. R. App. P. 72.1.  A motion for leave is not required for such a petition
filed in an intermediate appellate court.  See Tex. R. App. P. 52.1.  An original proceeding seeking
extraordinary relief in a court of appeals is commenced by the filing of a petition.  See id.  Thus,
under the applicable rules, if mandamus relief is sought from an intermediate court, such as the Third
Court of Appeals, a motion for leave to file the petition is unnecessary.

		To the extent that Noble's document could be read as a petition initiating an original
appellate proceeding seeking extraordinary relief, see id., there is simply inadequate information
supplied to even begin to address the legal merits.  First, Noble does not name a Respondent, and
it is unclear from the body of the document against whom he seeks mandamus relief.  Second, it is
difficult to discern the precise nature of Noble's complaint.  Consequently, it is unclear what remedy
or relief he seeks.

		At the beginning of the document, Noble appears to be requesting permission to
appeal to this Court a Motion for Leave to File Writ of Mandamus and Prohibition.  But then he
mentions "a declaratory judgment and a injunction relief for disposition related to merits on all other
claims."  Within the document, Noble references a motion to file a stay, a motion to extend time for
reconsideration, and a motion for rehearing "against the Court of Criminal Appeals," a pending writ
of habeas corpus, as well as a motion for nunc pro tunc judgment requesting jail time credit, a
motion to expunge records, and a motion to set aside and quash the indictment.  Noble claims he is
"actually innocent" and suggests a double-jeopardy violation.  He also appears to complain about
a clemency application submitted to the Texas Board of Pardons and Paroles.  He asserts that he filed
a civil suit in Travis County seeking a hearing on his request for clemency and an order requiring
the parole board to hold such a hearing.  Noble does not, however, supply any necessary information
in the Motion for Leave to File Writ of Mandamus and Prohibition that would help us determine
whether he is entitled to any mandamus relief.  Nor does he attach or furnish any documents or
records of proceedings.

		Mandamus relief is an extraordinary remedy.  In re Southwestern Bell Tel. Co.,
235&nbsp;S.W.3d 619, 623 (Tex. 2007) (orig. proceeding); In re Braswell, 310 S.W.3d 165, 166 (Tex.
App.--Amarillo 2010, orig. proceeding).  It is relator's burden to properly request and show
entitlement to mandamus relief.  Walker v. Packer, 827 S.W.2d 833, 837 (Tex. 1992); In re
Davidson, 153 S.W.3d 490, 491 (Tex. App.--Amarillo 2004, orig. proceeding); see Barnes v. State,
832 S.W.2d 424, 426 (Tex. App.--Houston [1st Dist.] 1992, orig. proceeding) ("Even a pro se
applicant for a writ of mandamus must show himself entitled to the extraordinary relief he seeks."). 
In this regard, the relator must provide the reviewing court with a record sufficient to establish his
right to mandamus relief.  See Walker, 827 S.W.2d at 837; In re Blakeney, 254 S.W.3d 659, 661
(Tex. App.--Texarkana 2008, orig. proceeding); see also Tex. R. App. P. 52.7(a) (relator must file
with petition "a certified or sworn copy of every document that is material to the relator's claim for
relief and that was filed in any underlying proceeding"), 52.3(k) (specifying required contents for
appendix), 52.7(a) (specifying required contents for record).

		Noble has failed to satisfy his burden and has not established entitlement to the
extraordinary relief of a writ of mandamus.  Accordingly, treating the document Noble has filed as
a petition for writ of mandamus, it is denied. (2)


						__________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Filed:   December 21, 2012
1.   It appears that Noble was convicted in 2000 in Dallas County of aggravated sexual assault
of a child and received a life sentence.
2.   In the title of his document, Noble refers to a "writ of mandamus and prohibition."  A writ
of prohibition issues to prevent the commission of a future act.  See In re Dacus, 337 S.W.3d 501,
504 (Tex. App.--Fort Worth 2011, orig. proceeding) (citing State ex rel. Wade v. Mays,
689&nbsp;S.W.2d&nbsp;893, 897 (Tex. Crim. App. 1985)).  Nowhere in his motion does Noble refer to, discuss,
complain about, or seek the prevention of any future act.  Thus, we do not construe his document as
a petition for writ of prohibition.


